Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23

Shesti A, Affruntt, Esq. (SBN 017981996)

THE LAW OFFICE OF SHERRI A, AFFRUNTI, LLC
301 Oxford Valley Road

Bldg. 1800, #1803, 2d Floor, Jackson Suite

Yardley, PA 19067

Tel: (267) 392.5842

Email: sherri@affruntilaw.com

Neville L. Johnson, Esq. (Admitted Pro Hae ice)

Adam M. Winokur, Esq. (Admitted Pre Hae Vice)
JOHNSON & JOTINSON LLP

439 North Canon Drive, Suite 200

Beverly Hills, California 90210

Telephone: (310) 975-1080

Facsimile: (310) 975-1095

Email: njohnson@jjliplaw.com; awinokur@jjilplaw.com

Rodney A. Smolla, Esq, (Admitted Pro Hae Vice)
7 Brook Road

P.O. Box 77

Strafford, Vermont 05072

‘Telephone: (864) 373-3882

Email: rodsmolla@gmail.com

Attorneys for Plaintiffs Lima Jevremovic and

Autonomous User Rehabilitation Agent, LLC

UNITED STATES DISTRICT COURT

Page 1 of 9 PagelD: 291

FOR THE DISTRICT OF NEW JERSEY

LIMA JEVREMOVICG, an individual; and
AUTONOMOUS USER REHABILITATION
AGENT, LIC, a Delawate Limited Liability
Company,

Plaintiffs,
vs.

BRITTANY JEREAM COURVILLE, an
individual,

 

Defendant.

Civil Action No: 3:22-cy-04969-ZNQ-RLS

Document Electronically filed

STIPULATED DISCOVERY
CONFIDENTIALITY ORDER

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 2 of 9 PagelD: 292

WHEREAS, certain materials and testimony sought and/or produced during the course of
litigation may contain Confidential material, as defined herein; and

WHEREAS, a protective order would facilitate discovery and pleading in connection with the
above-captioned matter;

Upon request by the parties for the entry of a protective order pursuant to Fed. R. Civ. P. 5.2 and
26(c), and Local Civ. Rule 5.3, IT IS HEREBY ORDERED:

1. Any party to this litigation and any third-party shall have the right to designate as
“Confidential” and subject to this Order any information, document, or thing, or portion of any document
or thing: (a) that contains trade secrets, competitively sensitive technical, marketing, financial, sales or other
confidential business information, or (b) that contains private or confidential personal information, or {c)
that contains information received in confidence from third parties, or (d) which the producing party
otherwise believes in good faith to be entitled to protection under Rule 26(c)(1)(G) of the Federal Rules of
Civil Procedure and Local Civil Rule 5.3. Any party to this litigation or any third party covered by this
Ordet, who produces or discloses any Confidential material, including without limitation any information,
document, thing, interrogatoty answet, admission, pleading, or testimony, shall mark the same with the
foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL — SUBJECT TO DISCOVERY
CONFIDENTIALITY ORDER” (hereinafter “Confidential”.

2. Any party to this litigation and any third-party shall have the right to designate as
“Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion of any
document or thing that contains highly sensitive business or personal information, the disclosure of which
is highly likely to cause significant harm to an individual or to the business or competitive position of the
designating patty. Any party to this litigation or any third party whio is covered by this Order, who produces
or discloses any Attorneys’ Eyes Only material, including without limitation any information, document,
thing, interrogatory answer, admission, pleading, or testimony, shall mark the satne with the foregoing ot
similar legend:

“ATTORNEYS’ EYES ONLY” ot “ATTORNEYS’ EYES ONLY — SUBJECT TO

DISCOVERY CONFIDENTIALITY ORDER?” (hereinafter “Attorneys’ Eyes Only”).

2

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 3 of 9 PagelD: 293

3, All Confidential matetial shall be used by the receiving patty solely for purposes of the
ptosecution or defense of this action, shall not be used by the receiving party for any business, commercial,
competitive, personal or other purpose, and shall not be disclosed by the receiving party to anyone other
than those set forth in Paragraph 4, unless and until the Respectfully submitted, restrictions herein are
removed either by written agreement of counsel for the parties, or by Order of the Court. It is, however,
understood that counsel for a party may give advice and opinions to his or her client solely relating to the
above-captioned action based on his or her evaluation of Confidential material, provided that such advice
and opinions shall not reveal the content of such Confidential material except by prior written agreement
of counsel for the parties, or by Order of the Court.

4. Confidential material and the contents of Confidential material may be disclosed only to
the following individuals under the following conditions:

a. Outside counsel (herein defined as any attorney at the parties’ outside law firms)
and relevant in-house counsel for the parties;
b. Outside experts or consultants retained by outside counsel for putposes of this

action, provided they have signed a non-disclosure agreement in the form attached hereto as

 

Exhibit A;

c Secretarial, paralegal, clerical, duplicating and data processing personnel of the
foregoing;

d. The Court and court personnel;

e, Any depenent may be shown ot examined on any information, document or thing

designated Confidential ifit appears that the witness authored or received a copy of it, was involved
in the subject matter described therein ot is employed by the party who produced the information,
document of thing, or if the producing party consents to such disclosute;

f. Vendors retained by or for the patties to assist in preparing for pretrial discovery,
trial and/or hearings including, but not limited to, court reporters, litigation support personnel,
juty consultants, individuals to prepare demonstrative and audiovisual aids for use in the courtroom

ot in depositions or mock jury sessions, as well as their staff, stenographic, and clerical employees

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 4 of 9 PagelD: 294

whose duties and responsibilities require access to such materials; and
g. The parties. In the case of parties that are corporations or other business entities,

“patty” shall mean executives who ate required to participate in decisions with reference to this

lawsuit.

5. Confidential material shall be used only by individuals permitted access to it under
Paragtaph 4. Confidential material, copies thereof, and the information contained therein, shall not be
cisclosed in any manner to any other individual, until and unless (a) outside counsel for the party asserting
confidentiality waives the claim of confidentiality, or (b) the Court ordets such disclosure.

6. With respect to any depositions that involve a disclosure of Confidential material of a party
to this action, such party shall have until thirty (30) days after receipt of the deposition transcript within
which to inform all other parties that portions of the transcript are to be designated Confidential, which
petiod may be extended by agreement of the parties. No such deposition transcript shall be disclosed to
any individual other than the individuals described in Paragraph 4(a), (b}, (c), (d) and (8 above and the
deponent during these thirty (30) days, and no individual attending such a deposition shall disclose the
contents of the deposition to any individual other than those described in Paragraph 4(a), (b), (c), (d) and
(8) above during said thirty (30) days. Upon being informed that certain portions of a deposition are to be
designated as Confidential, all patties shail immediately cause each copy of the transcript in its custody of
control to be appropriately marked and limit disclosure of that transcript in accordance with Paragraphs 3
and 4.

7, Material produced and marked as Attorneys’ Eyes Only may be disclosed only to outside
counsel for the receiving patty and to such other persons as counsel for the producing patty agrees in
advance or as Ordered by the Coutt.

8. If counsel for a party receiving documents or information designated as Confidential or
Attorneys’ Eyes Only hereunder objects to such designation of any or all of such items, the following

ptocedute shall apply:

(a) Counsel for the objecting party shail serve on the designating party or third
patty a written objection to such designation, which shall desctibe with particularity the

 

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 5 of 9 PagelD: 295

documents or information in question and shall state the grounds for objection. Counsel
for the designating party or third party shall respond in writing to such objection within 14
days, and shall state with particularity the grounds for asserting that the document or
information is Confidential or Attorneys’ Eyes Only. If no timely written response is made
to the objection, the challenged designation will be deemed to be void, If the designating
patty ot nonparty makes a timely response to such objection asserting the propriety of the
designation, counsel shall then confer in good faith in an effort to resolve the dispute.

(b) Ifa dispute as to a Confidential or Attorneys’ Eyes Only designation of a
document or item of information cannot be resolved by agreement, the proponent of the
designation being challenged shall present the dispute to the Coutt initially by telephone or
letter, in accordance with Local Civil Rule 37.1(a)(1), before filing a formal motion for an
order regarding the challenged designation. The document or information that is the
subject of the filing shall be treated as originally designated pending resolution of the
dispute.

9, Any document designated “Confidential” or “Attorneys’ Eyes Only” by a patty ot non-
party and which document is filed with the Court shall be filed under seal, in accordance with Local Civil
Rule 5.3.

10. If the need arises during trial or at any Hearing before the Court for any patty to disclose
Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice to the producing
patty and as directed by the Court.

11. To the extent consistent with applicable law, the inadvertent or unintentional disclosure of
Confidential material that should have been designated as such, regardless of whether the information,
document or thing was so designated at the time of disclosure, shall not be deemed a waiver in whole or
in part of a party’s claim of confidentiality, either as to the specific information, document or thing
disclosed or as to any other material or information concerning the same oe related subject matter. Such
inadvertent or unintentional disclosure may be rectified by notifying in weiting counsel for all patties to
whom the material was disclosed that the material should have been designated Confidential within a
reasonable time after disclosure. Such notice shall constitute a designation of the information, document
ot thing as Confidential under this Discovery Confidentiality Order.

12, When the inadvertent or mistaken disclosure of any information, document or thing
protected by privilege or work-product immunity is discovered by the producing party and brought to the

attention of the receiving party, the receiving party’s treatment of such material shall be in accordance with

 

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 6 of 9 PagelD: 296

Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or mistaken disclosure of such information,
document or thing shall not by itself constitute a waiver by the producing party of any claims of privilege
or work-product immunity. However, nothing herein restricts the right of the receiving party to challenge
the producing patty’s claim of privilege if appropriate within a reasonable time after receiving notice of the
inadvertent or mistaken disclosure.

13. No information that is in the public domain or which is already known by the receiving
party through proper means of which is or becomes available to a party from a source other than the patty
assetting confidentiality, rightfully in possession of such information on a non-confidential basis, shall be
deemed or considered to be Confidential material under this Discovery Confidentiality Order.

14. This Discovery Confidentiality Order shall not deprive any party of its right to object to
discovery by any other party ot on any otherwise permitted ground. ‘This Discovery Confidentiality Order
is being entered without prejudice to the tight of any party to move the Court for modification or for relief
from any of its terms.

15. ‘This Discovery Confidentiality Order shall survive the termination of this action and shall
remain in full force and effect unless modified by an Order of this Court or by the written stipulation of
the parties filed with the Court.

16. Upon final conchision of this litigation, each party or other individual subject to the terms
hereof shall be under an obligation to assemble and to return to the originating source all criginals and
unmarked copies of documents and things containing Confidential material and to destroy, should such
soutce so request, all copies of Confidential material that contain and/or constitute attorney work product
as well as excerpts, summaries and digests revealing Confidential material; provided, however, that counsel
may tetain complete copies of all transcripts and pleadings including any exhibits attached thereto for
atchival purposes, subject to the provisions of this Discovery Confidentiality Order. ‘To the extent a patty
requests the return of Confidential material from the Court after the final conclusion of the litigation,
including the exhaustion of all appeals therefrom and all related proceedings, the party shall file a motion

seeking such relief.

 

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 7 of 9 PagelD: 297

IT IS 80 ORDERED.

7,003

Dated: OWN E
Quknsonay L. Sinan ,US.MJ.

 

The undersigned counsel hereby agtee to the form and entty of the foregoing Order:

Dated: June 6, 2023 of Short 4, Afrantl
Sherri A. Affrunti, Esq. (SBN 017981996)
THE LAW OFFICE OF SHERRI A. AFFRUNTT, LLC
301 Oxford Valley Road
Bldg. 1800, #1803, 2d Floor, Jackson Suite
Yardley, PA 19067
Telephone: (267) 392.5842
Eimaih sherri@affruntilaw.com

Neville L. Johnson, Esq. (Admitted Pro Hae ie)
Adam M. Winokur, Esq. (Admitted Pro Hae lie)
JOHNSON & JOHNSON LLP

439 North Canon Drive, Suite 200

Beverly Hills, California 90210

Telephone: (310) 975-1080

Facsimile: (310) 975-1095

Email: njohnson@jjllplaw.com;
awinokur@jjllplaw.com

Rodney A. Smolla, Esq. (Admitted Pro Hac Vice)
7 Brook Road

P.O. Box 77

Strafford, Vermont 05072

Telephone: (864) 373-3882

Email: rodsmolla@gmail.com

Attorneys for Plaintiffs Lima Jevremovié and
Autonomous User Rehabilitation Agent, LLC

Dated: June 6, 2023 ef Tamar Wise, Eg,
John P. Johnson, Ji., Esq.
COZEN O'CONNOR, PC
1010 Kings Highway South

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 8 of 9 PagelD: 298

Cherry Hill, NJ 08034
‘Telephone: 856-910-5001
Fax: 215-701-2049

Email: jjohnson@cozen.com

Kevin ‘IT’. Kerns, Esq. (Admitted Pro Hae ice)
One Liberty Place

1650 Market Street, Suite 2800

Philadelphia, PA 19103

Telephone: 215-665-6912

Pax: 215-372-2352

Email: kkerns@cozen.com

‘Tamar Wise, Esq. (Admitted Pro Hae Vice)
3 WTC

175 Greenwich Street, 55th Floor

New York, NY 10172

Telephone: 212-883-4924

Fax: 646-461-2054

Email: twise@cozen.com

Attorneys for Defendant
Brittany Jeream Courville

 
Case 3:22-cv-04969-ZNQ-RLS Document 31 Filed 06/08/23 Page 9 of 9 PagelD: 299

EXHIBIT A

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
LIMA JEVREMOVIG, an individual; and Civil Action No: 3:22-cv-04969-ZNQ-RLS
AUTONOMOUS USER REHABILITATION
AGENT, LLC, a Delaware Limited Liability
Company,

Document Electronically filed

AGREEMENT TO BE BOUND BY
STIPULATED DISCOVERY
CONFIDENTIALITY ORDER

Plaintiffs,
vs.

BRITTANY JEREAM COURVILLE, an
individual,

Defendant.

 

, being duly sworn, state that:

1. My addkess is

 

2. My present employer is and the address of my present
employment is

 

3. My present occupation or job description is

 

4, I have carefully read and understood the provisions of the Discovery Confidentiality Order in
this case signed by the Court, and I will comply with all provisions of the Discovery Confidentiality
Order.

5, I will hold in confidence and not disclose to anyone not qualified under the Discovery
Confidentiality Order any Confidential Material or any words, summaties, abstracts, or indices of
Confidential Information disclosed to me.

6. I will limit use of Confidential Material disclosed to me solely for purpose of this action.

7. No later than the final conclusion of the case, F will return all Confidential Material and
summaries, abstracts, and indices thereof which come into my possession, and documents or things
which I have prepared relating thereto, to counsel for the party for whom I was employed or retained.

I declare under penalty of perjury that the foregoing is true and correct.

Dated: [Name]

 
